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UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF

 

PENNYSLVANIA
KRISTY MERTZ,
Plaintiff
Vv. NO.: 3-10-CV-02495
AMERICAN CORADIUS
INTERNATIONAL, LLC,
Defendant

 

 

ORDER FOR JUDGMENT

The foregoing Stipulation, having been presented to the Court on behalf
of the above parties,

IT IS HEREBY ORDERED that the above-entitled action be, and the same
hereby is, dismissed with prejudice and on its merits and without costs or
disbursements to any party.

JUDGMENT IS ENTERED.

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Dated this Va day Sngfeeber, 2011.

Judge of DistricCourt

 

 

 
